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8                         UNITED STATES DISTRICT COURT
9                       CENTRAL DISTRICT OF CALIFORNIA
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12    CHIMIRA D.,                             Case No. 2:20-cv-07366-GJS
13                Plaintiff
                                               JUDGMENT
14           v.
15    KILOLO KIJAKAZI, Acting
      Commissioner of Social Security,
16
                  Defendant.
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18
        Pursuant to the Court’s Memorandum Opinion and Order,
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        IT IS ADJUDGED that the decision of the Commissioner of the Social Security
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     Administration is AFFIRMED and this action is DISMISSED WITH PREJUDICE.
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     DATED: May 31, 2022
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24                                       GAIL J. STANDISH
25                                       UNITED STATES MAGISTRATE JUDGE

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